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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                                 Criminal No. 08-217 (ADC)

 [4] VICTOR APONTE-APONTE,
        Defendant.



               ORDER ADOPTING REPORT AND RECOMMENDATION

       Before the Court is an unopposed Report and Recommendation issued by Magistrate-

Judge Camille Vélez-Rivé on January 13, 2009. (Docket No. 100). In said Report and

Recommendation the Magistrate-Judge recommends that: defendant Víctor Aponte-Aponte

be adjudged guilty of the offenses charged in Count One of the Indictment (T. 18, U.S.C. § 1347

and 1349) inasmuch as, his plea of guilty was intelligently, knowingly and voluntarily entered.

       Neither party has filed objections to the Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby APPROVES

and ADOPTS the Magistrate-Judge’s Report and Recommendation in its entirety.
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       Accordingly, a judgment of conviction is to be entered as to Count One of the

Indictment in the above-captioned case.

       The sentencing hearing is set for May 7, 2009 at 5:00 p. m.

       IT IS SO ORDERED.

       At San Juan, Puerto Rico, this day of 11th day of February, 2009.



                                                S/AIDA M. DELGADO-COLON
                                                United States District Judge
